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    SCHEDULED FOR ORAL ARGUMENT JANUARY 9, 2024

                              No. 23-3228

       In the United States Court of Appeals
        for the District of Columbia Circuit
                     UNITED STATES OF AMERICA,
                                             Appellee,
                                    v.
                          DONALD J. TRUMP,
                                             Appellant.



   On Appeal from the U.S. District Court for the District of Columbia
             Case No. 23-cr-257 (Hon. Tanya S. Chutkan)


      BRIEF OF AMICUS CURIAE AMERICAN OVERSIGHT
   IN SUPPORT OF DISMISSAL FOR LACK OF JURISDICTION


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      CERTIFICATE AS TO PARTIES, RULINGS, AND
   RELATED CASES PURSUANT TO CIRCUIT RULE 28(a)(1)

     A. Parties and Amici. Except for the amicus filing this brief, all

parties, intervenors, and amici appearing before the district court and in

this Court are listed in the Brief for Appellant and Appellee.

     Pursuant to Federal Rule of Appellate Procedure 26.1 and D.C.

Circuit Rules 27(a)(4) and 28(a)(1)(A), amicus curiae American Oversight

states that it has no parent corporation, and no publicly held company

has a 10% or greater ownership interest in it.

     B. Ruling Under Review. An accurate reference to the ruling at

issue appears in the Brief for Appellant.

     C. Related Cases. The following case is related within the mean-

ing of D.C. Circuit Rule 28(a)(1)(C):

         United States v. Trump, No. 23-3190, 2023 WL 8517991 (D.C.

           Cir. Dec. 8, 2023)


                                             /s/ R. Stanton Jones
                                             R. Stanton Jones




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           DISCLOSURE STATEMENT PURSUANT TO
                    CIRCUIT RULE 26.1

     Pursuant to Federal Rule of Appellate Procedure 26.1 and D.C.

Circuit Rules 26.1 and 29(b), undersigned counsel certifies:

     Amicus curiae American Oversight has no parent company, and no

publicly held company has a 10% or greater ownership interest in it.


                                         /s/ R. Stanton Jones
                                         R. Stanton Jones




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         STATEMENT REGARDING CONSENT TO FILE
                AND SEPARATE BRIEFING

     Counsel for the United States stated that the United States does

not oppose the filing of this amicus brief. Counsel for Mr. Trump did not

respond to amicus’s request for consent.

     Pursuant to D.C. Circuit Rule 29(d), amicus certifies that a

separate brief is necessary to provide the unique perspective that, under

a straightforward application of controlling Supreme Court and Circuit

precedent, this Court lacks jurisdiction over this interlocutory appeal.

     Because amicus is not aware of any other amicus brief addressing

these issues, it certifies pursuant to D.C. Circuit Rule 29(d) that joinder

in a single brief with other amici would be impracticable.

                                         /s/ R. Stanton Jones
                                         R. Stanton Jones




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               STATEMENT OF AUTHORSHIP AND
                 FINANCIAL CONTRIBUTIONS

     No counsel for any party authored this brief in whole or in part and

no entity or person, aside from the amicus, its members, or its counsel,

made any monetary contribution intended to fund the preparation or

submission of this brief.

                                          /s/ R. Stanton Jones
                                          R. Stanton Jones




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        IDENTITY AND INTEREST OF AMICUS CURIAE1

      Amicus curiae American Oversight is a nonpartisan, nonprofit

section 501(c)(3) organization committed to promoting transparency in

government, educating the public about government activities, and

ensuring the accountability of government officials primarily by

enforcing the public’s right to government records. In furtherance of

these goals, American Oversight seeks to ensure meaningful and timely

accountability for public officials who attempt to abuse their power with

impunity.

      Founded in 2017, American Oversight has exposed grave threats to

American democracy, including attempts to undermine free and fair

elections. Much of American Oversight’s work in this area has focused

on efforts by former President Trump and his allies to overturn the

results of the 2020 presidential election.      For instance, American

Oversight obtained copies of the forged electoral certificates from seven

states that were submitted to the National Archives and Congress by




1 No counsel for a party authored this brief in whole or in part, and no

counsel for a party, nor any person other than the amicus curiae, or their
counsel, contributed money that was intended to fund the preparation or
submission of this brief. See Fed. R. App. P. 29(a)(4).

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supporters of Mr. Trump who sought to replace the valid presidential

electors from their states.2 Additional records obtained by American

Oversight revealed details of a coordinated, multi-state effort to

undermine the electoral vote process and effectively disenfranchise

millions of voters,3 which culminated in the January 6, 2021 violent

attack on the U.S. Capitol. American Oversight also obtained various

records from the key federal agencies involved in the response to the

events of January 6, producing a detailed timeline of the events of that

day.4   Since then, American Oversight has uncovered details of the

involvement of several fake electors in various states in their ongoing




2 American Oversight Obtains Seven Phony Certificates of Pro-Trump
Electors,       American        Oversight      (Mar.      2,     2021),
https://www.americanoversight.org/american-oversight-obtains-seven-
phony-certificates-of-pro-trump-electors.
3 The ‘Alternate Electors’ Plot to Overturn the 2020 Election, American

Oversight                  (May                 20,              2022),
https://www.americanoversight.org/investigation/the-alternate-electors-
plot-to-overturn-the-2020-election.
4 A Timeline of the Government’s Response on Jan. 6, 2021, American

Oversight, https://www.americanoversight.org/timeline-jan6 (last visited
Dec. 28, 2023).

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efforts to promote election-denial conspiracy theories and undermine

public confidence in elections.5

      Consistent with its mission, American Oversight has a vested

interest in ensuring that dilatory procedural tactics are not used to avoid

accountability for efforts to subvert the U.S. Constitution and overturn

the results of the 2020 presidential election.       Accordingly, American

Oversight submits this amicus curiae brief to explain that this Court

lacks jurisdiction over this interlocutory appeal, and to urge the Court to

dismiss the appeal and remand this case to the district court immediately

for prompt trial and judgment without any further delay.

                     STATUTES AND REGULATIONS

      Section 1291 of title 28 provides in pertinent part: “The courts of

appeals . . . shall have jurisdiction of appeals from all final decisions of

the district courts of the United States . . . .”




5 Fake Electors’ Continued Involvement in Anti-Democratic and Election

Denial    Efforts,   American     Oversight      (Dec.     21,           2022),
https://www.americanoversight.org/fake-electors-continued-
involvement-in-anti-democratic-and-election-denial-efforts.

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                              ARGUMENT

 I.   The Court lacks appellate jurisdiction.

      This Court should dismiss this appeal for lack of jurisdiction.

Under controlling Supreme Court precedent, an interlocutory order

denying immunity in a criminal case is not immediately appealable

unless the claimed immunity “rests upon an explicit statutory or

constitutional guarantee that trial will not occur.” Midland Asphalt

Corp. v. United States, 489 U.S. 794, 801 (1989). The Supreme Court has

identified only two constitutional guarantees against trial that satisfy

this demanding standard: the Double Jeopardy Clause and the Speech or

Debate Clause. Id. Applying Midland Asphalt, this Court and other

courts of appeals have long dismissed interlocutory appeals asserting

claims of criminal immunity not based on an explicit textual guarantee

against trial, including judicial immunity,6 transactional immunity,7 and

immunity rooted in structural separation-of-powers principles.8

      The arguments asserted by former President Trump here fail

Midland Asphalt’s straightforward rule of appellate jurisdiction, and


6 United States v. Joseph, 26 F.4th 528, 533 (1st Cir. 2022).

7 United States v. Macchia, 41 F.3d 35, 38 (2d Cir. 1994).

8 United States v. Cisneros, 169 F.3d 763, 767 (D.C. Cir. 1999).



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obviously so. On their face, Mr. Trump’s arguments do not rest upon any

explicit constitutional guarantee against trial.      Instead, he asserts

immunity under structural constitutional principles and an unstated

negative implication of the Impeachment Judgment Clause. Because

neither claim “rests upon an explicit . . . guarantee that trial will not

occur,” this Court lacks appellate jurisdiction. The Court should dismiss

this appeal immediately and remand for trial without further delay.

      A.   An order denying criminal immunity is not
           immediately appealable unless the claimed immunity
           rests upon an explicit textual guarantee against trial.

      Appellate review before judgment is rare in the federal system. The

courts of appeals have appellate jurisdiction over “final decisions of the

district courts.” 28 U.S.C. § 1291. “In criminal cases, this prohibits

appellate review until after conviction and imposition of sentence.”

Midland Asphalt Corp. v. United States, 489 U.S. 794, 798 (1989). By

limiting litigants to a single appeal at a case’s end, Section 1291

implements a policy as old as the courts themselves: “forbidding

piecemeal disposition” that “enfeebl[es] judicial administration” and

allows “obstruction” of legal process. Cobbledick v. United States, 309

U.S. 323, 325 (1940).



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      “In Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949),

[the Supreme Court] carved out a narrow exception to the normal

application of the final judgment rule, which has come to be known as

the collateral order doctrine.” Midland Asphalt, 489 U.S. at 798. “To fall

within the limited class of final collateral orders, an order must

(1) ‘conclusively determine the disputed question,’ (2) ‘resolve an

important issue completely separate from the merits of the action,’ and

(3) ‘be effectively unreviewable on appeal from a final judgment.’” Id. at

799 (quoting Coopers & Lybrand v. Livesay, 437 U.S. 463, 468 (1978)).

      Already applied sparingly in civil cases, the Supreme Court “ha[s]

interpreted the collateral order exception ‘with the utmost strictness’ in

criminal cases.” Id. (quoting Flanagan v. United States, 465 U.S. 259,

265 (1984)). “The Supreme Court has long held that the policy of finality

embodied in [Section 1291] is ‘inimical to piecemeal appellate review’ and

that this policy is ‘at its strongest’ in the field of criminal law.” United

States v. Poindexter, 859 F.2d 216, 218 (D.C. Cir. 1988) (quoting United

States v. Hollywood Motor Car Co., 458 U.S. 263, 265 (1982)). “[D]elay

can be ‘fatal to the vindication of the criminal law,’” United States v.

Fokker Services B.V., 818 F.3d 733, 748 (D.C. Cir. 2016) (quoting



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Cobbledick, 309 U.S. at 324), because it “diminish[es] evidence,”

“prolongs public anxiety,” and frustrates the community’s “interest in

swiftly bringing the person responsible to justice.” Flanagan, 465 U.S.

at 264-65. Accordingly, “[i]n criminal cases, ‘the compelling interest in

prompt trials’ demands that courts apply the [collateral order] doctrine

‘with utmost strictness’ and confine its scope.” United States v. Cisneros,

169 F.3d 763, 767 (D.C. Cir. 1999) (quoting Flanagan, 465 U.S. at 265).

      In Midland Asphalt, the Supreme Court squarely held that an

interlocutory denial of a criminal defendant’s purported right to avoid

trial is not immediately appealable unless the claimed right “rests upon

an explicit statutory or constitutional guarantee that trial will not occur.”

489 U.S. at 800-01. Writing for a unanimous Court, Justice Scalia noted

that, despite “numerous opportunities in the 40 years since Cohen to

consider the appealability of prejudgment orders in criminal cases,” the

Court had identified only two constitutional guarantees against trial

sufficiently explicit to meet this demanding standard: the Double

Jeopardy Clause and the Speech or Debate Clause. 9 Id. at 799.


9 The Supreme Court has also recognized two types of criminal orders

subject to interlocutory appeal under the collateral order doctrine that do
not involve a claimed right not to be tried. Stack v. Boyle, 342 U.S. 1

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      Applying this “explicit guarantee” rule, the Court in Midland

Asphalt had “little difficulty concluding that an order denying a motion

to dismiss an indictment for an alleged violation of [Fed. R. Crim. Proc.]

6(e) does not satisfy [the] ‘stringent conditions for qualification as an

immediately appealable collateral order.’” Id. (quoting Flanagan, 465

U.S. at 270). Although grand jury secrecy is important, “[t]he text of Rule

6(e) contains no hint that a governmental violation of its prescriptions

gives rise to a right not to stand trial.” Id. at 802. And while the Fifth

Amendment’s Grand Jury Clause “confer[s] a right not to be tried (in the

pertinent sense) when there is no grand jury indictment” and implies “the

requisite secrecy of grand jury proceedings,” the Clause contains no

explicit guarantee against trial when grand jury secrecy has been

violated. Id.

      Notably, the Court in Midland Asphalt specifically addressed

immunity claims and held that they are typically not subject to

interlocutory appeal in criminal cases: even where “a defendant has been

granted immunity from prosecution . . . this has not led the Court to



(1951) (orders denying motions to reduce bail); Sell v. United States, 539
U.S. 166, 175-77 (2003) (orders allowing involuntary medication to
render a defendant competent to stand trial).

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conclude that such defendants can pursue interlocutory appeals.” Id. at

801 (quoting United States v. MacDonald, 435 U.S. 850, 860 n.7 (1978)).

      Midland Asphalt has never been overruled, and courts of appeals

have read it to mean exactly what it says. Interlocutory appeals in

criminal cases are limited to “those ‘rights not to be tried’ that are

explicitly set forth in a statute or the Constitution.” United States v.

Joseph, 26 F.4th 528, 533 (1st Cir. 2022) (emphasis added). “The test is

not whether the right alleged to be impaired is grounded in the

Constitution”;   “[t]he   test   is   whether   the    pertinent    protection,

constitutional or statutory, explicitly guarantees a right not to be tried.”

United States v. Macchia, 41 F.3d 35, 38 (2d Cir. 1994) (emphasis added).

In other words, “only when a statutory or constitutional provision itself

contains a guarantee that a trial will not occur—may courts of appeals

intervene prior to a final judgment to review the defendant’s claimed

‘right not to be tried.’” United States v. Wampler, 624 F.3d 1330, 1336

(10th Cir. 2010) (Gorsuch, J.) (emphasis in original). “And, of course,

most statutory and constitutional provisions—including the Sixth and

Fourth Amendments—contain no such guarantee against trial even

while they surely protect other important interests.” Id.



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      Applying Midland Asphalt’s straightforward rule, this Court has

dismissed interlocutory appeals where the claimed immunity or other

right not to be tried did not rest upon any explicit textual guarantee. For

instance, in Cisneros, the Court dismissed a former cabinet secretary’s

interlocutory appeal claiming that “he [wa]s immune from prosecution on

structural separation of powers grounds.” 169 F.3d at 769. While “any

criminal defendant . . . may raise separation of powers as a defense,” “it

scarcely follows that whenever a defendant relies on the separation-of-

powers doctrine, the defendant’s right must be treated as if it rested on

an ‘explicit . . . guarantee that trial will not occur.’” Id. (quoting Midland

Asphalt, 489 U.S. at 801). “Most separation-of-powers claims are clearly

not in that category” and thus are ineligible for interlocutory appeal in

criminal cases.10 Id.




10 The Court explained that it had permitted interlocutory review of
separation-of-powers claims only where legislators asserted a right
“closely akin to a claim of Speech or Debate Clause immunity.” Id. at
770. The first of those cases—on which the other two relied—was a “civil
action,” not a criminal prosecution at all. United States v. Rose, 28 F.3d
181, 182 (D.C. Cir. 1994). Regardless, as in Cisneros, Mr. Trump, who
never served in Congress, “obviously cannot rely on the analogy to [the]
Speech or Debate Clause . . . found persuasive in Rose.” 169 F.3d at 770.

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      Likewise, in Fokker, this Court held that the denial of an asserted

right not to be tried conferred by a deferred prosecution agreement was

not immediately appealable because the defendant’s “purported right to

avoid trial [did] not ‘rest[ ] upon an explicit statutory or constitutional

guarantee that trial will not occur.’” 818 F.3d at 748 (quoting Midland

Asphalt, 489 U.S. at 800-01); see also In re Sealed Case, 144 F.3d 74, 75

(D.C. Cir. 1998) (per curiam) (dismissing under Midland Asphalt an

appeal asserting transactional immunity); In re Al-Nashiri, 835 F.3d 110,

131-32 (D.C. Cir. 2016) (holding that statutory language did not contain

explicit guarantee against trial within meaning of Midland Asphalt);

United States v. Crosby, 20 F.3d 480, 487 (D.C. Cir. 1994) (Henderson, J.)

(dismissing under Midland Asphalt defendant’s interlocutory appeal

asserting his prosecution was barred by prior plea agreements).

      Other circuits are in accord. In Joseph, the First Circuit dismissed

for lack of jurisdiction a judge’s interlocutory appeal from the denial of

her claim to judicial immunity.      26 F.4th at 534.      Under Midland

Asphalt’s “rule of construction applicable when a criminal defendant

asserts a right not to stand trial,” “judicial immunity — even assuming

that it applies in this criminal case — does not provide a right not to be



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tried that can serve as a basis for interlocutory review.” Id. at 533.

“Midland Asphalt teaches that such a right must ‘rest[ ] upon an explicit

statutory or constitutional guarantee that trial will not occur—as in the

Double Jeopardy Clause . . . or the Speech or Debate Clause . . . .” Id.

(quoting Midland Asphalt, 489 U.S. at 801). “In adopting this rule for

interlocutory appeals in criminal cases, the [Supreme] Court recognized

that, absent such a strict construction, very many legal defenses might

be said to confer a right not to be tried.” Id. “So by limiting interlocutory

appeals to those ‘rights not to be tried’ that are explicitly set forth in a

statute or the Constitution, the [Supreme] Court avoided construing an

exception in a manner that swallowed the rule.” Id. In holding that

appellate review of the claimed judicial immunity must await conviction

and sentence, the First Circuit refused to “overlook Midland Asphalt’s

pronouncement that a right not to be tried must be explicitly rooted in a

statute or the Constitution.” Id. (emphasis added).

      In Macchia, the Second Circuit dismissed a criminal defendant’s

interlocutory appeal asserting immunity based on his agreement with

prosecutors.   41 F.3d at 37-39.     The Second Circuit recognized that

Midland Asphalt had abrogated its prior decisions allowing such



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interlocutory appeals. Id. at 37-38. The defendant identified no “statute

explicitly insulating from prosecution a witness given transactional

immunity,” but rather relied on “an alleged agreement with the United

States Attorney, the breach of which, he contend[ed], violate[d] the Due

Process Clause.” Id. at 38. This failed Midland Asphalt: “There can be

virtually no doubt that a violation of the general prohibition of the Due

Process Clause is not a violation of an ‘explicit statutory or constitutional

guarantee that trial will not occur,’ as that phrase is used in Midland

Asphalt.” Id. The defendant’s argument that his immunity was rooted

in some constitutional provision “misses Justice Scalia’s point”—namely,

that the “right not to be tried” must be explicit in constitutional text. Id.

      Other circuits have taken the same simple lessons from Midland

Asphalt. They too recognize that “[t]here is a gulf between a right not to

be tried and a right the vindication of which implies the end of the case”

and that “[o]nly an ‘explicit statutory or constitutional guarantee that

trial will not occur’ creates the sort of right not to be tried that supports

immediate review.” R.R. Donnelley & Sons Co. v. F.T.C., 931 F.2d 430,

433 (7th Cir. 1991) (Easterbrook, J.) (quoting Midland Asphalt, 489 U.S.

at 801).   That a “right not to be tried” must rest “upon an explicit



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statutory or constitutional guarantee that trial will not occur.” United

States v. Quaintance, 523 F.3d 1144, 1146 (10th Cir. 2008) (quoting

Midland Asphalt, 489 U.S. at 801). That Midland Asphalt is “rarely

satisfied” and thus “very few motions to dismiss an indictment—even if

founded on a valid constitutional right—will give rise to interlocutory

appellate jurisdiction.” United States v. Tucker, 745 F.3d 1054, 1063

(10th Cir. 2014) (Matheson, J.). And that even when a defendant “asserts

that the denial of his motion implicates a panoply of rights—due process,

the presumption against extraterritorial application of American law,

proper venue, and factual sufficiency in an indictment,” interlocutory

review remains unavailable so long as “none of them ‘rest[ ] upon an

explicit statutory or constitutional guarantee that trial will not occur.’”

United States v. Shalhoub, 855 F.3d 1255, 1261 (11th Cir. 2017) (Pryor,

J.) (quoting Midland Asphalt, 489 U.S. at 801).

      B.   Mr. Trump’s arguments rest upon structural
           constitutional principles and negative implication,
           not upon any explicit textual guarantee against trial.

      As this Court has explained, the “key question” under Midland

Asphalt “is whether there is any express statutory or constitutional

language that gives [a criminal defendant] a right not to be tried.” In re



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Al-Nashiri, 835 F.3d 110, 131 (D.C. Cir. 2016). If so, the defendant may

immediately appeal; if not, appellate review must await conviction and

sentence. The indisputable answer to that key question here is “no.” Mr.

Trump asserts immunity under structural constitutional principles and

an unstated negative implication of the Impeachment Judgment Clause.

Neither claim rests upon any explicit textual guarantee against trial.

      First, Mr. Trump’s presidential immunity claim does not rest on

any explicit constitutional guarantee against trial. As the district court

aptly observed, “[t]here is no Presidential Immunity Clause.” United

States v. Trump, No. 23-cr-257, 2023 WL 8359833, at *4 (D.D.C. Dec. 1,

2023). Mr. Trump does not argue otherwise. See Appellant Br. 5-7.

Instead, he contends that “[s]even considerations”—including history,

tradition,   and     separation-of-powers    principles—“mandate         the

recognition of presidential immunity from prosecution for official acts.”

Id. at 5-7. Compelling as these factors may (or may not) be, they do not

come close to meeting Midland Asphalt’s requirement of an explicit

textual guarantee. Absent such an “explicit . . . guarantee that trial will

not occur,” controlling Supreme Court and Circuit precedent forecloses




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appellate jurisdiction over immunity claims like Mr. Trump’s until after

he is convicted and sentenced. Midland Asphalt, 489 U.S. at 801.

      The two other circuits to address the question have agreed that

separation-of-powers claims typically flunk Midland Asphalt’s test. See

United States v. Schock, 891 F.3d 334, 339 (7th Cir. 2018); United States

v. Wampler, 624 F.3d 1330, 1337-39 (10th Cir. 2010). Writing for a

unanimous Tenth Circuit panel, then-Judge Gorsuch explained why:

“while the separation of powers inheres in the Constitution’s structure

and is surely an essential feature of our constitutional order, the

constitutional document doesn’t include a guarantee protecting those

invoking separation of powers doctrine from trial.” Wampler, 624 F.3d at

1339. Even important, structural constitutional claims in a criminal case

must ordinarily await appeal following final judgment.

      Restraint is particularly appropriate where, as here, the claimed

immunity may “depend on the trial evidence and on the government’s

(and the defendant’s) proposed [jury] instructions.” Cisneros, 169 F.3d at

767-68 (citing Fed. R. Crim. P. 30); see Appellant Br. 41-46 (discussing

five broad categories of alleged official acts).   A criminal indictment

generally need only “set forth the offense in the words of the statute



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itself,” and “proof at trial need not, indeed cannot, be a precise replica of

the charges contained in the indictment.” United States v. Williamson,

903 F.3d 124, 130 (D.C. Cir. 2018) (first quotation); United States v.

Lemire, 720 F.2d 1327, 1344 (D.C. Cir. 1983) (second quotation).

Regardless of how this Court were to define the outer perimeter of his

official duties now, Mr. Trump could return, following conviction, to press

his presidential immunity claim again for each overt act for which the

government adduced evidence at trial. Efficient judicial administration

would reserve these fact-intensive determinations for a single, post-

judgment appeal. And controlling precedent does just that.

      Second, Mr. Trump’s Impeachment Judgment Clause argument

also does not rest on any explicit constitutional guarantee against trial.

On its face, the Impeachment Judgment Clause, U.S. Const. art. I, § 3,

cl. 7, does not confer any explicit right not to be tried. Again, Mr. Trump

does not argue otherwise.         Instead, he claims that a “negative

implication” from the Clause prohibits the prosecution of a federal officer

whom the Senate has acquitted. Appellant Br. 8, 47. But a negative

implication is no “explicit . . . guarantee.” Midland Asphalt, 489 U.S. at

801. It is, by definition, an implication from what the Clause leaves



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unsaid rather than what it actually says. Any argument that Mr. Trump

can immediately appeal because his argument is grounded in a specific

constitutional provision “misses Justice Scalia’s point” in Midland

Asphalt. Macchia, 41 F.3d at 38. Even claims with firm footing in

constitutional text, like those alleging unfair delay or an unreasonable

seizure, must wait for final judgment unless that text explicitly

guarantees “a right not to be tried.” Midland Asphalt, 489 U.S. at 801.

      Mr. Trump’s invocation of “double jeopardy principles” implied by

the Impeachment Judgment Clause similarly fails Midland Asphalt. An

order denying a defendant’s claim under the Double Jeopardy Clause is

appealable as a collateral order because that clause’s text contains an

“explicit . . . guarantee that trial will not occur.” Id.; see Abney v. United

States, 431 U.S. 651, 661 (1977). The Impeachment Judgment Clause

contains no such guarantee. And Mr. Trump expressly disclaims reliance

on the text of the Double Jeopardy Clause itself. Indeed, he faults the

district court for performing “analysis of the Double Jeopardy Clause”

rather than considering the distinct principles of preclusion that he

contends govern his claim.       Appellant Br. 54 n.7.       Under Midland




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Asphalt, these sorts of implied principles—however weighty—do not

qualify for an interlocutory appeal in a criminal case.

                               *     *     *

      To say that the issues presented in this appeal are unreviewable

before final judgment is not to say that those issues are unimportant.

Appellate review must wait even when it comes to the most fundamental

rights protecting the most fundamental interests—the right to counsel;

the right to an impartial jury; the right to due process of law. And for

good reason. Trial error, and even trial error requiring an indictment’s

dismissal, is easy to claim. Criminal trials would never come to verdict—

permitting defendants to escape accountability—if susceptible to the

constant “delays and disruptions attendant upon intermediate appeal” of

every alleged legal error. Abney, 431 U.S. at 657 (quoting Di Bella v.

United States, 369 U.S. 121, 126 (1962)). The balance between the need

for swift error correction and the need to permit criminal trials to proceed

to a prompt and orderly conclusion has thus come out only one way for

centuries: against allowing interlocutory review.




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      No one doubts that the asserted claims in this appeal are serious.

But under controlling precedent, they cannot be appealed now.11

                             CONCLUSION

      The Court should dismiss this appeal for lack of jurisdiction.


Dated: December 29, 2023             Respectfully submitted,
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11 If the Court is concerned that limiting its discussion to appellate
jurisdiction might impede prompt Supreme Court merits review, it can
exercise hypothetical jurisdiction to address the merits while dismissing
the appeal. Am. Hosp. Ass’n v. Azar, 964 F.3d 1230, 1246 (D.C. Cir. 2020).

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                 CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(g), I hereby certify that this brief

complies with the type-volume limitation of Fed. R. App. P. 29(a)(5) and

32(a)(7)(B) because it contains 3,849 words, excluding the parts exempted

by Fed. R. App. P. 32(f) and Cir. R. 32(e)(1). I further certify that this

brief complies with the typeface requirements of Fed. R. App. P. 32(a)(5)

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                                         R. Stanton Jones




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                     CERTIFICATE OF SERVICE

      I hereby certify, pursuant to Fed. R. App. P. 25(d) and Cir. R. 25,

that on December 29, 2023, the foregoing brief was electronically filed

with the Clerk of the Court using the CM/ECF system, which will send a

notification to the attorneys of record in this matter who are registered

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                                         /s/ R. Stanton Jones
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